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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


ASHLEY PIERRELOUIS, Individually
and On Behalf of All Others Similarly
Situated,
                                            Case No. 18-cv-04473
             Plaintiff,
                                            Hon. Jorge L. Alonso
             v.

GOGO INC., MICHAEL J. SMALL,
NORMAN SMAGLEY, BARRY
ROWAN, and JOHN WADE,

             Defendants.


                 MEMORANDUM OF LAW IN SUPPORT OF
        DEFENDANTS' MOTION TO DISMISS THE AMENDED COMPLAINT



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       Defendants Gogo Inc. (“Gogo” or the “Company”), Michael J. Small, Norman Smagley,

Barry Rowan, and John Wade (the “Individual Defendants”) respectfully submit this

memorandum and the accompanying Declaration of Brian H. Polovoy (“Polovoy Decl.”) in

support of their motion to dismiss the Amended Complaint (“Amended Complaint” or “AC”)

(Dkt. No. 55) pursuant to Rules 12(b)(6) and 9(b) of the Federal Rules of Civil Procedure and the

Private Securities Litigation Reform Act of 1995 (the “PSLRA”), 15 U.S.C. § 78u-4(b).

                               PRELIMINARY STATEMENT

        This is a putative securities class action based on nothing more than “fraud by

hindsight.” Plaintiffs challenge statements made during the period from February 27, 2017

through February 22, 2018 by Gogo Inc., the leading global provider of inflight broadband

connectivity and wireless entertainment to the aviation industry, concerning Gogo’s 2Ku global

satellite system (“2Ku”), an antenna and satellite-based system that provides additional

bandwidth and improved speeds for internet service on airplanes. At the time each public

statement was made, Gogo and its executives provided the best information they had, and the

Amended Complaint does not make any factual allegation that would suggest that Gogo or any

of the Individual Defendants had any information inconsistent with their statements at the time

they were made.

       Plaintiffs allege that defendants’ statements were false and misleading because they did

not disclose that the 2Ku system was not working as expected because of an “installation design

defect” that, as the Company disclosed in May 2018, would ultimately require expensive repairs

and increased costs. Plaintiffs’ only basis for claiming that defendants knew during the period

from February 27, 2017 through February 22, 2018 that the 2Ku system had a problem that

would negatively affect Gogo’s projections for 2018 is Gogo’s subsequent announcement in May

2018 that it was withdrawing its previously provided guidance for 2018 because of increased
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costs and lower revenue caused by the 2Ku issues, which started to become apparent when

winter set in and de-icing fluid used to de-ice airplane fuselages in winter leaked into antenna

radomes and caused service failures on some aircraft. Plaintiffs do not—and cannot—point to

any specific contemporaneous information that was both available to defendants and inconsistent

with their public statements at the time the statements were made. The Amended Complaint

offers precisely the type of threadbare allegations that the PSLRA’s heightened pleading

standards and safe harbor were intended to weed out on an early motion.

          The Amended Complaint should be dismissed because: (1) plaintiffs do not allege with

particularity any facts showing that defendants’ statements were false when made; (2) certain of

defendants’ statements are non-actionable under the PSLRA’s safe harbor for forward-looking

statements; and (3) plaintiffs have not alleged with particularity facts supporting a strong

inference that any defendant acted with an intent to defraud. Indeed, the fact that Gogo’s CEO

significantly increased his stockholding in Gogo during the class period—i.e., that he purchased

large amounts of Gogo stock when, according to plaintiffs, he knew the stock price was

artificially inflated—eviscerates any inference that defendants acted with an intent to defraud.

                                       STATEMENT OF FACTS1

          A.      Background

          This action was filed on June 27, 2018, by Ashley Pierrelouis, a purported purchaser of

1
    The statement of facts is based on the allegations of the Amended Complaint, which are deemed true
    solely for purposes of this motion, or from documents referred to in the Amended Complaint or other
    public documents filed with the SEC, of which the Court may take judicial notice. See Tellabs, Inc. v.
    Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007) (“[C]ourts must consider . . . sources courts
    ordinarily examine when ruling on Rule 12(b)(6) motions to dismiss, in particular, documents
    incorporated into the complaint by reference, and matters of which a court may take judicial notice.”);
    McCready v. eBay, Inc., 453 F.3d 882, 891 (7th Cir. 2006) (“[D]ocuments attached to a motion to
    dismiss are considered part of the pleadings if they are referred to in the plaintiff’s complaint and are
    central to his claim.”) (citations omitted); In re Career Educ. Corp. Sec. Litig., 2007 WL 1029092, at *1
    n.5 (N.D. Ill. Mar. 29, 2007) (same; court can also take judicial notice of SEC filings on a Rule 12(b)(6)
    motion), vacated pursuant to settlement, 2008 WL 8666579 (N.D. Ill. June 26, 2008).



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Gogo common stock. Dkt. No. 1. On October 10, 2018, the Court appointed Maria Zingas and

Daniel Rogers as lead plaintiffs. Dkt. No. 41. Notably, no institutional investor sought

appointment as lead plaintiff. Lead plaintiffs filed an Amended Complaint on December 10,

2018 on behalf of a putative class of purchasers of Gogo securities from February 27, 2017

through May 4, 2018 (the “putative Class Period”). AC ¶ 1.

       Gogo, which is based in Chicago, is the leading provider of inflight broadband

connectivity and wireless entertainment services in the United States and internationally. Id.

¶ 17; Polovoy Decl., Ex. A (Gogo Inc. Form 10-K for year ended Dec. 31, 2017 (“2017 10-K”))

at 2. The Amended Complaint also asserts claims against Michael J. Small, Gogo’s Chief

Executive Officer (“CEO”) and President from February 16, 2010 to March 4, 2018 (AC ¶ 18),

Norman Smagley, Gogo’s Chief Financial Officer (“CFO”) from September 2010 to May 4,

2017 (id. ¶ 19), Barry Rowan, Gogo’s CFO since May 4, 2017 (id. ¶ 20), and John Wade,

Gogo’s Chief Operating Officer and Executive Vice President since August 2016 (id. ¶ 21).

       B.      Gogo’s 2Ku System

       Plaintiffs assert claims based on defendants’ statements during the putative Class Period

about Gogo’s next generation 2Ku global satellite system, which was announced in 2014. AC

¶ 32. Gogo began rolling out 2Ku in 2016 and, by the end of 2016, had installed the system on

94 aircraft and expected to install it on 450 to 550 more in 2017. Id. ¶ 4; Polovoy Decl., Ex. B

(Gogo Inc. Form 10-K for year ended Dec. 31, 2016 (“2016 10-K”)) at 21. As anticipated, by

the end of 2017, Gogo had installed 2Ku on more than 550 aircraft. AC ¶ 4; Polovoy Decl., Ex.

A (2017 10-K) at 2. At that time, the 2Ku system was capable of delivering peak speeds of 100

megabits per second to the aircraft. Polovoy Decl., Ex. A (2017 10-K) at 2, 6. According to

Gogo’s current CEO, Oakleigh Thorne, 2Ku was Gogo’s “most successful product launch ever,

with greater than 98% service availability” in summer 2017. AC ¶ 62; Polovoy Decl., Ex. C


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(Edited Transcript Q1 2018 Gogo Inc. Earnings Call, May 4, 2018 (“Q1 2018 Earnings Call

Tr.”)) at 6.

        Plaintiffs allege that in winter 2017-18, Gogo began to hear about problems with the

reliability of its 2Ku system, which were caused by de-icing fluid used to de-ice the fuselage of

aircraft in winter months. AC ¶¶ 55-56. In its February 22, 2018 earnings call (reporting results

for the fourth quarter of 2017 and 2017 as a whole), Gogo disclosed that it was experiencing

problems with the reliability of 2Ku. Id. ¶¶ 122, 124; Polovoy Decl., Ex. D (Edited Transcript

Q4 2017 Gogo Inc. Earnings Call, Feb. 22, 2018 (“Q4 2017 Earnings Call Tr.”)) at 4.

Specifically, Wade explained that “on some aircraft [installed with 2Ku] we saw degraded

reliability. We’ve identified the root cause of all of these issues, and have fixes for all of them

that have either been deployed or [are] in the process of being deployed. By midyear 2018, we

expect the entire 2Ku fleet to operate at the same market-leading performance levels that most

2Ku aircrafts are now achieving.” AC ¶ 122; Polovoy Decl., Ex. D (Q4 2017 Earnings Call Tr.)

at 4.

        Similarly, in the risk factor section of its annual report on Form 10-K for the year ended

December 31, 2017, under the heading “[w]e may be unsuccessful or delayed in widely

deploying and operating our 2Ku technology,” Gogo explained:

        We have encountered delays and quality problems as we deploy 2Ku, which we
        are in the process of remediating, and may continue to do so given the aggressive
        installation schedule that we are undertaking and the demands that the schedule
        places on employees, suppliers and other resources. . . . If 2Ku fails to perform as
        expected or we fail to meet the installation timelines and performance metrics for
        which we have contracted, our business, financial condition and results of
        operations may be materially adversely affected.

AC ¶ 130; Polovoy Decl., Ex. A (2017 10-K) at 25-26. Gogo’s 2017 10-K also warned in the

MD&A section that key factors that may affect the Company’s future performance include

“costs associated with the implementation of, and our ability to implement on a timely basis our


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technology roadmap, upgrades and installation of our . . . 2Ku . . . technologies (including

failures or delays on the part of antenna and other equipment developers and providers) . . . .”

Polovoy Decl., Ex. A (2017 10-K) at 56.

       Several weeks later, on May 4, 2018, when the scope and cause of the issues with 2Ku

were more fully apparent and understood, Gogo’s new CEO, Oakleigh Thorne, explained during

Gogo’s earnings call for first quarter 2018 that a

       big issue in the quarter was the deicing fluid impact on 2Ku. . . . [T]he impact on
       Q1 was twofold. First, airlines held back on marketing the product, which hurt
       revenue. And two, we ramped up spending to fix reliability as soon as we could,
       which hurt costs. We’ll see even higher spending in Q2 as our remediation plans
       ramp up further in that quarter. The costs are primarily around maintenance
       expense and CapEx for new antenna inventory.

AC ¶ 62; Polovoy Decl., Ex. C (Q1 2018 Earnings Call Tr.) at 4-5. Thorne disclosed on May 4,

2018, that although in summer 2017, 2Ku was Gogo’s “most successful product launch ever with

greater than 98% service availability,” when winter came, “we slipped on the 98% system

availability with our deicing problems” caused by de-icing fluid in “the antenna [raceways] in

which the antenna discs spin.” AC ¶ 62; ; Polovoy Decl., Ex. C (Q1 2018 Earnings Call Tr.) at

5, 6. Although service availability had dropped to the mid-80s, Thorne explained that it

improved considerably “before the weather improved” and was back over 96% as of May 3,

2018 and would be back to 98% by year end. AC ¶ 62; Polovoy Decl., Ex. C (Q1 2018 Earnings

Call Tr.) at 5. Thorne further explained that Gogo had completed

       a thorough analysis of root causes and discovered that while deicing was the
       biggest issue, there are also some manufacturing issues and software issues at
       fault. We also discovered the deicing fluid entered the antenna [radome] through
       far more pathways than we originally thought. We fixed the software issues, and
       we fixed the manufacturing issues. We’re in the process of replacing all
       contaminated antennas by the end of this quarter. Our goal was to hit 95%
       availability by June 30. And I want to repeat, this week, we’re at 96%. So we’re
       well ahead of plan. In the second half of this year, we’re planning to roll out a set
       of 2Ku modifications that will keep deicing fluid out of the [raceways] and get it
       back to our target of 98% system availability.


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AC ¶ 62; Polovoy Decl., Ex. C (Q1 2018 Earnings Call Tr.) at 6. During that same earnings call,

Rowan stated that “[a]djusted EBITDA is expected to be below the previously provided range of

$75 million to $100 million due to increased cost and lost revenue related to the 2Ku

implementation challenges we cited. Based on the timing of these expenses, we expect adjusted

EBITDA to be extremely low in the second quarter and to then ramp significantly in the second

half of the year similar to last year.” AC ¶ 63; Polovoy Decl., Ex. C (Q1 2018 Earnings Call Tr.)

at 10.

         Gogo also announced on May 4, 2018 that it was “withdrawing its previously provided

2018 guidance for Adjusted EBITDA, airborne Cash CAPEX, and airborne equipment inventory

purchases related to airline-directed installations, as well as Free Cash Flow guidance.” AC

¶ 64; Polovoy Decl., Ex. E (Press Release, “Gogo Announces First Quarter 2018 Financial

Results,” May 4, 2018 (“Q1 2018 Earnings Release”)) at 2. Gogo explained that “[t]he

Company is currently undergoing an integrated business planning process to evaluate ways to

further drive revenue growth, streamline business processes, prioritize operational initiatives and

improve its cost structure” and that it planned to provide updated guidance no later than its Q2

2018 earnings conference call. Polovoy Decl., Ex. E (Q1 2018 Earnings Release) at 2.

         C.     Summary Of Plaintiffs’ Claims

         Plaintiffs allege that defendants intentionally and fraudulently made material

misstatements of fact (a) in the risk disclosure sections of Gogo’s annual reports on SEC Forms

10-K for the years ended December 31, 2016 and 2017, filed on February 27, 2017 and February

22, 2018, respectively; (b) in Gogo’s quarterly earnings conference calls by Small and Smagley

on February 27, 2017, Small and Wade on May 4, 2017, Small, Wade and Rowan on August 7,

2017, Small, Wade and Rowan on November 2, 2017, and Wade and Rowan on February 22,

2018; (c) at investor conferences and presentations by Small on June 14, 2017, Small, Wade and


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Rowan on November 17, 2017, and Small and Rowan on December 6, 2017; and (d) in Gogo’s

earnings press release on February 22, 2018. AC ¶¶ 73-131. In essence, plaintiffs assert that

these statements were false or misleading because they discussed 2Ku and expected revenue for

2018 without disclosing that Gogo was allegedly already having problems with the performance

of its installed 2Ku systems due to what the Amended Complaint variously describes as a

“design defect” or an “installation design defect.” Id. ¶¶ 3, 10, 77, 81, 117, 131. The Amended

Complaint, however, contains no factual allegations suggesting that any defendant was aware of

the problems, much less the extent of the problems, at the time they made the statements at issue.

       More specifically, plaintiffs contend that each of the statements was false and/or

misleading at the time it was made because defendants did not disclose until February 22, 2018

that de-icing fluid was able to enter the compartment housing the 2Ku system on some aircraft

(known as a radome) to the extent that it caused the system to malfunction. Id. Plaintiffs further

contend that these disclosures on February 22, 2018 were only “partial[ly] corrective” because

defendants did not fully disclose the extent of the 2Ku problems and their impact on expected

costs and adjusted EBITDA until May 4, 2018. Id. ¶¶ 128, 131.

       Plaintiffs allege that “Delta Air Lines was first to notify Gogo that the 2Ku systems were

not working . . . as early as November or December 2017.” AC ¶ 56. Plaintiffs do not attribute

these “information and belief” allegations to any source, nor do they allege any facts to support

their assertion that Gogo was informed by Delta of 2Ku problems beginning in “November or

December 2017.” Instead, plaintiffs contend that “everyone at the company, including the Chief

Executive Officer” received “outage lists” that were generated by Gogo’s “Service Now”

database whenever a passenger reported a 2Ku system failure to the pilot and the pilot, in turn,

reported it to Gogo by means of an Aircraft Communications Addressing and Reporting System




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(“ACARS”) message (id. ¶ 58), but the Amended Complaint does not provide any source for this

allegation, nor does it plead when, how often, or how those “outage lists” were received or what

information they contained or conveyed to the alleged recipients. Critically, plaintiffs do not

even purport to allege facts showing that any defendant had knowledge of problems with 2Ku

reliability prior to an unclear date in “November or December 2017.”2

           Plaintiffs allege that when the “truth” about the 2Ku problems was fully disclosed on

May 4, 2018, the per-share price of Gogo’s stock dropped from $9.59 at the market close on May

3 to $7.86 at the market close on May 7, 2018, resulting in losses to Gogo’s stockholders. Id.

¶¶ 142, 144. Plaintiffs claim that all defendants committed federal securities fraud under Section

10(b), and assert control person liability claims under Section 20(a) against the Individual

Defendants. Plaintiffs’ own allegations, however, show that reliability issues were not apparent

until de-icing operations began in the winter of 2017, that the issues were timely disclosed and

that appropriate cautionary language accompanied the Company’s forward-looking statements.

The allegations of the Amended Complaint are thus self-defeating and should be dismissed.

                                               ARGUMENT

I.         PLAINTIFFS FAIL TO PLEAD SECURITIES FRAUD UNDER SECTION 10(b)

           A securities fraud claim under Section 10(b) must be dismissed unless the plaintiff pleads

facts establishing “(1) a material misrepresentation or omission by the defendant; (2) scienter

[i.e., fraudulent intent]; (3) a connection between the misrepresentation or omission and the

purchase or sale of a security; (4) reliance upon the misrepresentation or omission; (5) economic

loss; and (6) loss causation.” Stoneridge Inv. Partners, LLC v. Scientific-Atlanta, Inc., 552 U.S.

148, 157 (2008); Pension Tr. Fund for Operating Eng’rs v. DeVry Educ. Grp., Inc., 2017 WL

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     Thus, as discussed below, the claims against Smagley are frivolous because he left Gogo on
     May 4, 2017 (AC ¶ 19), i.e., long before “November or December 2017.”



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6039926, at *5 (N.D. Ill. Dec. 6, 2017) (Alonso, J.). Under the heightened pleading standards of

the PSLRA and Rule 9(b), a securities fraud complaint must specify each alleged misstatement

or omission, the reason or reasons it is false or misleading, and, if an allegation is made on

information and belief, all facts on which that belief is formed. DeVry, 2017 WL 6039926, at

*5-6 (citations omitted). The complaint must also state with particularity facts giving rise to a

“strong inference” that the defendant acted with a fraudulent state of mind, and that strong

inference of fraud must be “cogent and at least as compelling as any opposing inference.”

Tellabs, 551 U.S. at 314, 321 (citing 15 U.S.C. § 78u-4(b)(2)). The required state of mind (i.e.,

scienter) is “an intent to deceive, demonstrated by knowledge of the statement’s falsity or

reckless disregard of a substantial risk that the statement is false.” Higginbotham v. Baxter Int’l,

Inc., 495 F.3d 753, 756 (7th Cir. 2007). The Amended Complaint fails to meet any of these

requirements.3

          A.      Plaintiffs Fail To Plead That Any Statement Was False When Made

          To survive a motion to dismiss, a plaintiff must allege facts to show with sufficient

particularity that the defendants’ statements were false when made, “not incorrect in retrospect.”

Garden City Emps.’ Ret. Sys. v. Anixter Int’l, Inc., 2011 WL 1303387, at *20 (N.D. Ill. Mar. 31,

2011). “[T]he securities laws typically do not act as a Monday Morning Quarterback. The

securities laws approach matters from an ex ante perspective.” Stransky v. Cummins Engine Co.,

51 F.3d 1329, 1332 (7th Cir. 1995) (internal citation and quotation omitted); see also

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    A complaint also must be dismissed under Rule 12(b)(6) if it does not allege enough facts “to ‘state a
    claim to relief that is plausible on its face.’” DeVry, 2017 WL 6039926, at *5 (quoting Bell Atl. Corp.
    v. Twombly, 550 U.S. 544, 570 (2007)). This requires allegations of facts that “‘[allow] the court to
    draw the reasonable inference that the defendant is liable for the misconduct alleged.’” Id. (quoting
    Ashcroft v. Iqbal, 556 U.S. 662, 663 (2009)). Assumptions and conclusions “couched as [] factual
    allegation[s]” are not entitled to a presumption of truth on a motion to dismiss. Twombly, 550 U.S. at
    555. In addition, where the allegations in a complaint are contradicted by documents made a part
    thereof, the document controls and the Court need not credit the allegations in the complaint. See
    McCready, 453 F.3d at 891.



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Higginbotham, 495 F.3d at 759-60 (“there is no ‘fraud by hindsight’”); Zerger v. Midway

Games, Inc., 2009 WL 3380653, at *7 (N.D. Ill. Oct. 19, 2009) (plaintiffs required to plead facts

known to defendants “contemporaneous to the [allegedly false] statements”).

       Plaintiffs’ sole alleged bases for contending that the challenged statements were false

when made are Oakleigh Thorne’s end-of-class-period statements that, when winter came, 2Ku

service availability dropped to “the mid-80s” from “greater than 98%” in summer 2017 (AC

¶ 62) and the Amended Complaint’s unsupported allegations that “Delta Air Lines was first to

notify Gogo that the 2Ku systems were not working . . . as early as November or December

2017,” and “everyone at the company, including the Chief Executive Officer” would receive

“outage lists” generated every time a pilot reported a 2Ku outage on an aircraft. AC ¶¶ 56, 58.

For the reasons explained below, neither Thorne’s statement nor plaintiffs’ unsupported and

unattributed allegations is sufficient to establish that any of the challenged statements was false

when made.

               1.      Plaintiffs Fail To Plead Facts Showing That Defendants’ Pre-November
                       2017 Statements Were False When Made

       Plaintiffs have not even attempted to allege facts showing that any statement prior to

November 2017 was false when made. First, Mr. Thorne’s May 4, 2018 statement, which

plaintiffs allege finally disclosed the truth about the 2Ku defects, does not support any inference

that the significant 2Ku problems discussed that day had materialized or become known to any

defendant at the outset of the putative Class Period in February 2017 or at any time before

“winter” 2017-18. Thorne’s statement supports the opposite inference. Thorne, as Gogo’s new

CEO, explained: “Last summer [summer 2017], 2Ku was our most successful product launch

ever with greater than 98% service availability. And then came winter and availability plunged

down to the mid 80s.” AC ¶ 62 (emphasis added). If availability was at 98% in summer 2017



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and it “plunged down to the mid 80s” when winter came, Thorne’s statement provides no basis

to infer that Gogo was experiencing significant service availability issues prior to “winter.”

       Second, the allegation that “Delta Air Lines was first to notify Gogo that the 2Ku systems

were not working” and that “[t]his occurred as early as November or December 2017” (AC ¶ 56

(emphasis added)) also negates any inference that Gogo was experiencing material problems

with its 2Ku systems or that any defendant was aware of them prior to “November or December

2017.” Thus, plaintiffs’ own allegations—both the Thorne statement plaintiffs quote and the

allegation about the first notification from Delta—show they have no claim based on statements

made prior to November 2017. See McCready, 453 F.3d at 888 (“[I]f a plaintiff pleads facts

which show he has no claim, then he has pled himself out of court.”) (citation omitted); Hussain

v. Fed. Express Corp., 2013 WL 3337814, at *2 (N.D. Ill. July 2, 2013) (same). Accordingly,

plaintiffs have failed to plead—much less plead with the particularity required by the PSLRA—

any factual basis on which to infer that any of defendants’ statements made prior to November

2017 was false at the time it was made. See Zerger, 2009 WL 3380653, at *7 (rejecting

“chronological[ly] confus[ed]” allegation that decision made in October 2015 rendered August

2015 statement false when made). For that reason alone, the claims based on statements made in

Gogo’s 2016 10-K filed on February 27, 2017, Gogo’s earning calls on February 27, May 4, and

August 7, 2017, and the William Blair Growth Conference on June 14, 2017 (AC ¶¶ 74-96)

amount to nothing more than non-cognizable “fraud by hindsight” and must be dismissed.

(Because Smagley is not alleged to have made any statements after February 27, 2017, and the

Amended Complaint provides no basis to infer that the February 27, 2017 statements attributed

to him were false when made, Smagley should be dismissed from the case for this reason alone.)




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               2.      Plaintiffs Fail To Plead Facts Showing That Defendants’ Statements In
                       November And December 2017 Were False When Made

        The allegation that Delta Air Lines notified Gogo “as early as November or December

2017” of the problems with 2Ku reliability (AC ¶ 56) is similarly insufficient to allege falsity

with the particularity required by Rule 9(b) and the PSLRA. As noted above, pursuant to the

PSLRA, if an allegation regarding an omission or misstatement is made on information and

belief, “the complaint shall state with particularity all facts on which that belief is formed.” 15

U.S.C. § 78u-4(b)(1). “This ‘particularity’ requirement applies to allegations outside the

plaintiff’s personal knowledge, including allegations based upon counsel’s interviews with

confidential witnesses.” Boca Raton Firefighters’ & Police Pension Fund v. DeVry Inc., 2012

WL 1030474, at *3 (N.D. Ill. Mar. 27, 2012).

       Where a complaint relies on confidential witnesses, it can satisfy the PSLRA’s

particularity requirement without disclosing the identity of such witnesses, “but it must describe

[its] sources with sufficient detail to support the probability that a person in the position occupied

by the source would possess the information alleged, or in the alternative provide other evidence

to support [its] allegations.” Id. (citation and internal quotation marks omitted). The Seventh

Circuit and this Court, however, have expressed significant skepticism about the reliability of

information from anonymous sources. See Higginbotham, 495 F.3d at 757; DeVry, 2017 WL

6039926, at *13 n.6; see also DeVry, 2012 WL 1030474, at *7 n.15 (“Both Higginbotham and

Tellabs II addressed the scienter element of a Rule 10b–5 claim, rather than falsity, but we do not

understand the Court’s discussion of confidential witnesses to be limited to that element.”).

       Even though the Amended Complaint does not attribute the allegations in paragraphs 56-

60 to the “former employees” with whom plaintiffs allegedly spoke (AC at 1), the allegations

appear to be based on the type of information that, if true, would have been known only to



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current or former employees of Gogo. Notwithstanding plaintiffs’ failure to attribute these

statements to confidential witnesses or, indeed, to any source at all, these allegations must be

scrutinized for reliability in the same way as statements from confidential informants. See

DeVry, 2012 WL 1030474, at *7 (“courts should evaluate confidential-witness allegations taking

into account such factors as ‘the level of detail provided by the confidential sources, the

corroborative nature of the other facts alleged (including from other sources), the coherence and

plausibility of the allegations, the number of sources, the reliability of the sources, and similar

indicia’”) (quoting In re Cabletron Sys., Inc., 311 F.3d 11, 29-30 (1st Cir. 2002)); see also

Makor Issues & Rights, Ltd. v. Tellabs Inc., 513 F.3d 702, 712 (7th Cir. 2008) (“Tellabs III”),

(“The information that the confidential informants are reported to have obtained is set forth in

convincing detail, with some of the information, moreover, corroborated by multiple sources.”).

Nothing in the Amended Complaint, however, provides any indicia of reliability. Indeed, the

Court has no basis on which to determine whether these allegations are based on facts or mere

rumor. See, e.g., In re Career Educ. Corp., 2007 WL 1029092, at *4 (rejecting allegations based

on rumors conveyed by confidential informants).

       The Amended Complaint fails to meet the particularity requirement not only because it

does not identify any source for its allegation that defendants were notified of problems with

2Ku “as early as November or December 2017” (AC ¶ 56), but also because it fails to provide

any evidence to corroborate or otherwise support that allegation. While the allegation appears to

be based on “interviews with former employees” of Gogo (AC at 1), the Amended Complaint is

silent about how plaintiffs came to such “information and belief” and fails to provide any factual

basis to support a reasonable belief that defendants were, in fact, made aware of then-existing

issues with the 2Ku systems as early as “November or December 2017.”




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       Furthermore, the allegation is impermissibly vague in that it does not include the required

who, what, where, and when required to satisfy the particularity requirement of Rule 9(b) and the

PSLRA. See Arazie v. Mullane, 2 F.3d 1456, 1467 (7th Cir. 1993) (plaintiffs failed to plead with

particularity required by Rule 9(b) the “who, what, where, and when” of internal memorandum

that allegedly contradicted defendants’ statements); Zerger, 2009 WL 3380653, at *9 (plaintiffs

“fail[ed] to plead the ‘when’ of Defendants’ alleged fraud with enough particularity—or lack of

outright confusion—to satisfy either the PSLRA or Fed. R. Civ. P. 9(b)”). The temporal

imprecision of plaintiffs’ allegation underscores its lack of particularity and reliability—

apparently even plaintiffs do not believe they have a basis to allege without qualification that

Delta’s first reports of 2Ku problems were made in November 2017. Although the allegation is

too imprecise to be credited at all under the PSLRA, at most, all the Court could infer from the

imprecise allegation is that Gogo first received reports of 2Ku problems by the end of December

2017. Even if true, that still provides no basis to infer anything false in defendants’ statements

made weeks earlier on November 2, November 17 and December 6, 2017 (AC ¶¶ 98-119). The

allegation that the reports of significant problems occurred in late December 2017 is entirely

consistent with defendants’ public statements made in November and December 2017. And, it

would make perfect sense for the reports of significant issues to have been received in middle or

late December, i.e., after the November 2, November 17 and December 6 statements were made,

because, as Gogo’s new CEO Thorne explained in May 2018, the problems became apparent in

winter, when issues with de-icing fluid used on aircraft fuselages entering the 2Ku radomes and

causing significant problems arose (AC ¶ 62).

               3.      Plaintiffs Fail To Plead Facts Showing That The February 22, 2018
                       Statements Were False When Made

       On February 22, 2018, in its 10-K and in an earnings call, Gogo disclosed the information



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then known and available to it about significant 2Ku de-icing problems that had begun to

surface. Plaintiffs make conclusory assertions that these statements were only partially true, but

offer no factual basis for saying so. Although plaintiffs fault defendants for not disclosing on

February 22, 2018 everything that was later disclosed on May 4, 2018, nothing in the Amended

Complaint suggests that defendants withheld any information about 2Ku problems and their

impact on Gogo’s future performance that was available and known to them as of February 22,

2018.

        Plaintiffs’ allegations about “outage lists” that were supposedly “received by everyone at

the company, including the Chief Executive Officer” (AC ¶ 58) fail to support any contrary

inference. First, the allegations about “outage lists” are unattributed and uncorroborated and

under Higginbotham should not be considered. But even if they were attributed to a source

shown to be reliable or corroborated by other allegations in the Amended Complaint, they still

fail the PSLRA’s and Rule 9(b)’s particularity requirement because the Amended Complaint is

silent as to what these “outage lists” showed about overall 2Ku service reliability percentages at

the time; indeed, the Amended Complaint contains no allegations specifying any

contemporaneous information in these alleged reports that was inconsistent with the 2Ku

performance statistics that defendants reported. See In re Harley-Davidson, Inc. Sec. Litig., 660

F. Supp. 2d 969, 987 (E.D. Wis. 2009) (plaintiffs failed to plead that statements were false when

made because “confidential witness allegations regarding the preparation and dissemination of

daily reports do not actually mention any reports that contained statistics materially inconsistent

with the defendants’ public statements”). Moreover, these allegations give no indication that as

of February 22, 2018, defendants understood that the 2Ku de-icing issue was worse than

disclosed, or that it was caused by a design defect that would require more extensive and more




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costly repairs, or how that would impact Gogo’s adjusted EBITDA guidance for 2018.

       Because plaintiffs have failed to plead with the requisite particularity specific facts

supporting a plausible inference that each defendant knew on February 22, 2018 of the later-

reported issues with the 2Ku system, plaintiffs’ claims based on the February 22, 2018

statements should also be dismissed for failure to plead falsity.

       B.      Defendants’ Forward-Looking Statements Regarding Expected Cost
               Declines And Increased Adjusted EBITDA In 2018 Are Not Actionable
               Under The PSLRA Safe Harbor

       Several of the challenged statements are not actionable for a separate and independent

reason: they are protected by the PSLRA’s statutory safe harbor for forward-looking statements.

15 U.S.C. § 78u-5(c). Specifically, these include:

              Smagley’s February 27, 2017 statement that “[w]e expect a significant decline in
               cash needs in 2018 versus 2017 due to a substantial decline in Gogo’s average
               investment for 2Ku installation and a significant increase in consolidated adjusted
               EBITDA” (AC ¶ 76);

              Rowan’s statements on August 7, November 2 and 17, and December 6, 2017
               concerning Gogo’s expectations that Gogo’s net costs for “airborne equipment
               and installations” would “come down in 2018 versus 2017” and adjusted
               EBITDA would be significantly higher in 2018 than 2017 (id. ¶¶ 94, 102, 110,
               118); and

              Small’s statement on February 22, 2018 that “we expect strong growth in
               consolidated revenue and EBITDA in 2018” (id. ¶ 126).

       Pursuant to the PSLRA’s safe harbor, a written or oral statement that is forward-looking

is not actionable under the federal securities laws if either (a) it is identified as a forward-looking

statement and is accompanied by meaningful cautionary language “identifying important factors

that could cause actual results to differ materially from those in the forward-looking statement,”

or (b) plaintiffs fail to plead with particularity that the statement was made with actual

knowledge that it was false or misleading. 15 U.S.C. § 78u-5(c)(1); Stavros v. Exelon Corp., 266

F. Supp. 2d 833, 843-48 (N.D. Ill. 2003) (internal quotation omitted). Both prongs of the safe


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harbor are satisfied here and provide independent grounds for dismissal of the claims based on

the forward-looking statements.

               1.     The Statements Of Expectation Were Identified As Forward-Looking And
                      Were Accompanied By Meaningful Cautionary Language

       The PSLRA defines “forward-looking statement” to include “a statement containing a

projection of revenues, income (including income loss), earnings (including earnings loss) per

share . . . or other financial items”; “a statement of future economic performance”; and “any

statement of the assumptions underlying or relating to any [of the foregoing].” 15 U.S.C.

§ 78u-5(i)(1). Each of the above statements concerning Gogo’s expected costs and adjusted

EBITDA for 2018 falls within this statutory definition of “forward-looking statement.”

       Each of these statements also qualifies for the safe harbor because it was accompanied by

remarks confirming that the speakers were making forward-looking statements and provided

meaningful cautionary disclosures about the relevant risks that might jeopardize defendants’

expectations about Gogo’s future costs for 2Ku installations and adjusted EBITDA in 2018.

Specifically, at each of the conference calls and/or presentations at which these statements were

made, investors were warned that forward-looking statements regarding Gogo’s future financial

performance might be made and that they should consider the risk factors, identified in Gogo’s

earnings press releases, annual report on SEC Form 10-K and other SEC filings, that could cause

actual results to differ materially from those in the forward-looking statements made on the

conference call or during the presentation. See Polovoy Decl., Ex. F (Edited Transcript Q4 2016

Gogo Inc. Earnings Call, Feb. 27, 2017 (“Q4 2016 Earnings Call Tr.”)) at 2; Polovoy Decl., Ex.

G (Edited Transcript Q2 2017 Gogo Inc. Earnings Call, Aug. 7, 2017 (“Q2 2017 Earnings Call

Tr.”)) at 2; Polovoy Decl., Ex. H (Edited Transcript Q3 2017 Gogo Inc. Earnings Call, Nov. 2,

2017 (“Q3 2017 Earnings Call Tr.”)) at 2; Polovoy Decl., Ex. I (Transcript Gogo Inc. Investor



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and Analyst Day, Nov. 17, 2017 (“Nov. 17, 2017 Investor and Analyst Day Tr.”)) at 1, 38;

Polovoy Decl., Ex. J (Gogo Inc. Investor and Analyst Day Presentation, Nov. 17, 2017) at 2;

Polovoy Decl., Ex. K (Edited Transcript Gogo Inc. at UBS Global Media and Communications

Conference, Dec. 6, 2017) at 15; Polovoy Decl., Ex. D (Q4 2017 Earnings Call Tr.) at 2.

Additionally, Gogo’s earnings releases during this time period contained the following on-point

risk disclosures:

       When used in this discussion, the words . . . “expect,” . . . “should,” “will,”
       “future” and the negative of these or similar terms and phrases are intended to
       identify forward-looking statements in this press release. . . . Forward-looking
       statements reflect our current expectations regarding future events, results or
       outcomes. These expectations may or may not be realized. Although we believe
       the expectations reflected in the forward-looking statements are reasonable, we
       can give you no assurance these expectations will prove to have been correct.
       Some of these expectations may be based upon assumptions, data or judgments
       that prove to be incorrect. Actual events, results and outcomes may differ
       materially from our expectations due to a variety of known and unknown risks,
       uncertainties and other factors. Although it is not possible to identify all of these
       risks and factors, they include, among others, the following: . . . any inability to
       timely and efficiently deploy our 2Ku service . . . ; the effects of service
       interruptions or delays, technology failures and equipment failures or
       malfunctions arising from defects or errors in our software or defects in or
       damage to our equipment; . . . ; increases in our projected capital expenditures due
       to, among other things, unexpected costs incurred in connection with the roll-out
       of our technology roadmap or our international expansion . . . .

See, e.g., Polovoy Decl., Ex. L (Press Release, “Gogo Announces Fourth Quarter and Full-Year

2016 Financial Results,” Feb. 27, 2017 (“Q4 2016 Earnings Release”)) at 3-4; Polovoy Decl.,

Ex. M (Press Release, “Gogo Announces Fourth Quarter and Full-Year 2017 Financial Results,”

Feb. 22, 2018 (“Q4 2017 Earnings Release”)) at 3-4.

       As plaintiffs acknowledge, Gogo’s 2016 10-K included a risk factor titled “[w]e may be

unsuccessful or delayed in widely deploying and operating our 2Ku technology,” which warned

that “there can be no assurance that we can meet our installation goals on our current timeline,

due to, among other things, the failure of any 2Ku-related technology and equipment to perform



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as expected” and “[i]f 2Ku fails to perform as expected or its commercial availability is

significantly delayed as compared to the timelines for which we have contracted, our business,

business prospects and results of operations may be materially adversely affected.” AC ¶ 74

(quoting 2016 10-K at 25). This risk factor was updated in Gogo’s 2017 10-K, filed on February

22, 2018, as follows:

        We have encountered delays and quality problems as we deploy 2Ku, which we
        are in the process of remediating, and may continue to do so given the aggressive
        installation schedule that we are undertaking and the demands that the schedule
        places on employees, suppliers and other resources. . . . If 2Ku fails to perform as
        expected or we fail to meet the installation timelines and performance metrics for
        which we have contracted, our business, financial condition and results of
        operations may be materially adversely affected.

AC ¶ 130 (quoting 2017 10-K at 25-26). Gogo’s 2016 and 2017 10-Ks also warned in the

MD&A section that key factors that may affect Gogo’s future performance include “costs

associated with the implementation of, and our ability to implement on a timely basis our

technology roadmap, upgrades and installation of our . . . 2Ku . . . technologies (including

failures or delays on the part of antenna and other equipment developers and providers) . . . .”

Polovoy Decl. Ex. B (2016 10-K) at 59; Polovoy Decl. Ex. A (2017 10-K) at 56.

        In determining whether the safe harbor applies here, the Court may consider cautionary

statements that accompanied the statements at issue, cautionary statements that were

incorporated by reference, and cautionary statements that were publicly available at the time

each of the forward-looking statements was made. See Asher v. Baxter Int’l Inc., 377 F.3d 727,

732 (7th Cir. 2004); In re Midway Games, Inc. Sec. Litig., 332 F. Supp. 2d 1152, 1166-67 (N.D.

Ill. 2004); Stavros, 266 F. Supp. 2d at 844. The Seventh Circuit has explained that the

cautionary statements “need not identify what actually goes wrong and causes the projections to

be inaccurate; prevision is not required . . . . [I]t is enough to point to the principal contingencies

that could cause actual results to depart from the projection.” Asher, 377 F.3d at 732, 734.


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Gogo’s warnings about potential and actual 2Ku performance failures meet this requirement.

Accordingly, defendants’ forward-looking statements are protected by the PSLRA’s safe harbor,

and plaintiffs’ claims based on those statements should be dismissed.

               2.      Plaintiffs Fail To Plead That Defendants Actually Knew Their Statements
                       Were False Or Misleading

       The forward-looking statements are not actionable under the safe harbor for the

additional and alternate reason that plaintiffs have not pleaded with particularity facts to support

a strong inference that defendants actually knew that their forward-looking statements about

expected costs and adjusted EBITDA in 2018 were false or misleading when they made them.

See Stavros, 266 F. Supp. 2d at 847; 15 U.S.C. § 78u-5(c)(1)(B); 15 U.S.C. § 78u-4(b)(2); see

also In re Harley-Davidson, 660 F. Supp. 2d at 994 (“a forward-looking statement

unaccompanied by meaningful cautionary language may still qualify for safe harbor if the

plaintiff cannot prove the defendants had ‘actual knowledge . . . that the statement was false or

misleading.’”). Thus, even if the Court were to assume that the risks related to 2Ku had already

materialized at the time the forward-looking statements were made, and the cautionary

statements therefore were not “meaningful,” the challenged forward-looking statements are still

protected by the safe harbor. The reason is that, as explained in Section I.C.1 below, plaintiffs

have not adequately alleged that defendants made their forward-looking statements with actual

knowledge that they were false or misleading, i.e., they were actually aware of the eventual

scope of the problems and their impact on future costs and adjusted EBITDA at the time they

made those statements. See 15 U.S.C. § 78u-5(c)(1)(B); Stavros, 266 F. Supp. 2d at 847.

       C.      Plaintiffs Fail To Plead That Any Defendant Acted With The Intent To
               Defraud

       Nothing in the Amended Complaint shows that any defendant acted with any fraudulent

intent. Defendants provided the best information that was available at the time each of the


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challenged statements was made, and the Amended Complaint offers no reason to believe

otherwise. That alone is fatal to plaintiffs’ case.

       Because, as shown above, plaintiffs failed to adequately plead that any of defendants’

statements was false or misleading, they can hardly plead that defendants made false statements

with the required state of mind. See Garden City Emps.’ Ret. Sys. v. Anixter Int’l, Inc., 2012 WL

1068761, at *11 (N.D. Ill. Mar. 29, 2012). Nonetheless, even if the Court were to assume that

any of the statements was false when made, plaintiffs’ claims still fail because their “scienter”

allegations (AC ¶¶ 132-139) fail to give rise to a “strong inference” of fraudulent intent that is

“cogent and at least as compelling as any opposing inference one could draw from the facts

alleged.” Tellabs, 551 U.S. at 324; Pugh v. Tribune Co., 521 F.3d 686, 693 (7th Cir. 2008)

(quoting Tellabs). The Seventh Circuit has rejected the “group pleading doctrine,” and therefore

“the plaintiffs must create a strong inference of scienter with respect to each individual

defendant.” Pugh, 521 F.3d at 693. A separate scienter inquiry must be undertaken for each

defendant and each statement. Id.

               1.      Plaintiffs Have Not Pleaded That Any Of Defendants Knew Or Recklessly
                       Disregarded Any Design Problems With Gogo’s 2Ku Systems

       The sole alleged false statement attributed to Smagley is his statement during an earnings

conference call on February 27, 2017—nine months before winter 2017-18—about an expected

decline in cash needs and an increase in EBITDA in 2018 compared to 2017. AC ¶ 76. Because,

as shown above, this is a forward-looking statement protected by the PSLRA’s safe harbor, the

required scienter is actual knowledge—anything less requires dismissal. See Tellabs III, 513

F.3d at 705 (“A complication introduced by the Private Securities Litigation Reform Act is that

‘actual knowledge’ of falsity, not merely indifference to the danger that a statement is false, is

required for liability for ‘forward-looking’ statements—predictions or speculations about the



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future.”); 15 U.S.C. § 78u-5(c)(1)(B)(ii).

       Although the “scienter” section of the Amended Complaint contains no allegations about

Smagley, plaintiffs allege that because “winter [2016-17] was coming to a close at the time . . . ,

Smagley knew about the [sic] 2Ku’s design defect and that the costs associated with fixing it

would increase exponentially the following year as additional 2Ku systems were installed and

came online.” AC ¶ 77. This is nothing but a bare allegation. Plaintiffs have not alleged a

single fact—much less the specific facts required by the PSLRA—to support even a weak

inference that Smagley knew in February 27, 2017 that the 2Ku systems suffered from a design

defect or that the costs of fixing it would increase in 2018. Plaintiffs’ allegations support the

opposite inference because, as discussed above, the Amended Complaint alleges that the

problems with the 2Ku system were first reported to Gogo only in November or December 2017.

Id. ¶ 56. Even if the Court were to credit those unsupported allegations, they only underscore

how weak the allegations against Smagley are. The inference that Smagley had actual

knowledge in February 2017 that Gogo would be unable to meet its 2018 expectations because

of problems that plaintiffs contend were first reported months later is neither cogent nor

compelling; it is preposterous.

       Similarly preposterous are plaintiffs’ contentions that any of the other defendants actually

knew or recklessly disregarded information that materially contradicted any of their public

statements—both present and forward-looking. Plaintiffs allege that defendants Small, Wade

and Rowan “knew or had access to information that materially contradicted their public

statements” (AC ¶ 132) because they allegedly received “‘outage reports’ whenever a 2Ku

system failed” (id. ¶ 134) and confirmed in public statements they each made on November 17,

2017 that they “monitored the performance of 2Ku systems in real-time” (id. ¶ 136; see also id.




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¶¶ 135, 137).4 As shown above, plaintiffs do not plead any facts indicating that any problems

with 2Ku and de-icing were reported prior to November 2017 at the earliest. Id. ¶¶ 56, 58.

Consequently, the Amended Complaint pleads no basis on which to infer that any defendant

knew or even recklessly disregarded any information that materially contradicted any of their

pre-November 2017 statements. Accordingly, the claims based on statements made in Gogo’s

2016 10-K and earning calls on February 27, May 4, and August 7, 2017, and at the William

Blair Growth Conference on June 14, 2017 must be dismissed for the additional reason that

plaintiffs failed to plead any inference—weak, strong, cogent, compelling or otherwise—that

defendants had any fraudulent intent in making those statements.

          Plaintiffs also fail to meet the heightened standard for pleading a strong inference of

scienter as to any of the statements made by any defendant on November 2, November 17 and

December 6, 2017. First, for the reasons discussed above, plaintiffs have not pleaded any facts

supporting even a weak inference that the de-icing problems with 2Ku were reported before the

end of December. Second, the unsupported and unattributed allegations that defendants received

“outage reports” do not suffice because the Amended Complaint fails to plead any facts

establishing the reliability of that allegation, the specific nature of the information that was

contained in those reports, or precisely how such information contradicted any of the challenged

statements. As the Seventh Circuit has explained, information from anonymous sources (in this

case, completely unidentified sources) must be discounted in the scienter inquiry because “[i]t is

hard to see how information from anonymous sources could be deemed ‘compelling’ or how [the

court] could take account of plausible opposing inferences.” Higginbotham, 495 F.3d at 757.


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    Contrary to plaintiffs’ insinuation, Small did not state on November 17, 2017 that he “studied [the
    performance requirements] on a routine basis” (AC ¶ 135). See Polovoy Decl., Ex. I (Nov. 17, 2017
    Investor and Analyst Day Tr.).



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Third, even if the Court were to credit those allegations as trustworthy and reliable, the mere

receipt of reports that supposedly contradict defendants’ class-period statements is not enough to

support a strong inference that defendants acted with the requisite scienter—especially where, as

here, the content of the alleged reports and timing of their alleged receipt by defendants is so

vague, and plaintiffs fail to plead any corroborating facts supporting an inference of scienter.

See In re Harley-Davidson, 660 F. Supp. 2d at 999 (“not only is mere receipt of reports

insufficient to establish scienter, the inferential leap required to tie these alleged facts to the

conclusion that defendants acted knowingly or recklessly when presenting relevant information

to the market is untenable given the heightened pleading standards”).

        Plaintiffs likewise fail to plead facts supporting a strong inference of scienter as to

defendants’ statements on February 22, 2018. Defendants disclosed the problems that began to

be reported as the winter weather hit in December 2017, and nothing in the Amended Complaint

indicates that defendants disclosed anything less than the best information that was available to

them at that time. If the first reports of significant problems were received in late December, it is

not at all surprising that, barely two months later, the full extent of the problem, all of its root

causes, and its impact on the Company’s future performance were not yet apparent. As Gogo’s

new CEO said on May 4, 2018, the Company had completed “a thorough analysis of root causes

and discovered that while deicing”—which was disclosed on February 22, 2018—“was the

biggest issue, there are also some manufacturing issues and software issues at fault” and “also

discovered the deicing fluid entered the antenna [radome] through far more pathways than we

originally thought.” Polovoy Decl., Ex. C (Q1 2018 Earnings Call Tr.) at 6. The fact that the

Company continued to investigate, address and assess the problem even after the February 22,

2018 disclosures were made does not support the inference that they fraudulently concealed any




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known information on February 22, 2018. As the Seventh Circuit has explained, “[t]aking the

time necessary to get things right is both proper and lawful. Managers cannot tell lies but are

entitled to investigate for a reasonable time, until they have a full story to reveal.”

Higginbotham, 495 F.3d at 761.

       Plaintiffs cannot rely on snippets taken out of context from certain analyst reports as if

they were evidence that the public felt misled. See AC ¶¶ 9, 70, 71, 139; see also In re Eros Int’l

Sec. Litig., 2017 WL 6405846, at *6, *8 (S.D.N.Y. Sept. 22, 2017) (plaintiffs’ citations to

“cherry-picked statements” from analyst reports did not support a plausible inference “that the

investment community was misled by Defendants’ statements”), aff’d sub nom. Eisner v. Eros

Int’l PLC, 735 F. App’x 15 (2d Cir. 2018). Nothing in any of the analyst reports cited in the

Amended Complaint provides a factual basis to suggest that defendants knew about significant

2Ku problems any sooner than the information was disclosed. When read in context, the May 8,

2018 report of Cowen analyst Lance Vitanza, quoted in paragraphs 9 and 71 of the Amended

Complaint, simply reports exactly what CEO Thorne explained, i.e., that after further

investigation, the problems reported in February 2018 turned out to be “much worse than

initially thought.” Polovoy Decl. Ex. N (Lance Vitanza, “Operational Setbacks Leave Gogo

Complex in Limbo for Now,” Earnings Update, May 8, 2018) at 1. Similarly, despite Northland

Capital Markets analyst Paul Penney’s insinuations about Small’s credibility (see AC ¶¶ 9, 70),

his reports say nothing to back up those insinuations—they do not identify any factual

information that was known earlier but not disclosed until May 4, 2018. See Polovoy Decl., Ex.

O (Paul Penney, “Gogo Inc. (GOGO) Your Seat Cushion Can Also Be Used as a Flotation

Device – PT to $3.50,” May 7, 2018); see also Polovoy Dec., Ex. P (Paul Penney, “Gogo Inc.

(GOGO) Seat Belts Get an Extra Tug with Risk Clouds Emerging Darker & Closer,” February




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23, 2018). And finally, contrary to plaintiffs’ portrayal of a February 23, 2018 J.P. Morgan

analyst report as having “overlooked” defendants’ February 22, 2018 disclosures “almost

entirely,” that report noted the Company’s reduced “2Ku install guidance” and downgraded

Gogo from overweight to neutral and lowered its price target from $17 to $10. Polovoy Decl.,

Ex. Q (Phillip Cusick, Sebastiano Petti, Richard Choe, “Gogo Weaker than Expected 2018

Guidance; Downgrade to Neutral and Lower Price Target to $10,” Feb. 23, 2018) at 1, 3.5

          In short, nothing in plaintiffs’ Amended Complaint or the analyst reports they quote

provides any basis to infer that any defendant withheld known material information from the

public at the time they made their public statements about 2Ku or acted with an intent to defraud.

                  2.      Plaintiffs Have Not Alleged Any Stock Sales Or Any Other Motive To
                          Commit Fraud

          Plaintiffs’ allegations of scienter are undermined by their failure to plead any stock sales

by any defendant during the putative Class Period, or any other motive to commit fraud, and by

the fact that Gogo’s CEO purchased a significant amount of stock during the putative Class

Period (when plaintiffs allege he knew the stock price was artificially inflated). While the

absence of motive allegations is not dispositive, the Supreme Court has acknowledged that

“motive can be a relevant consideration, and personal financial gain may weigh heavily in favor

of a scienter inference.” Tellabs, 551 U.S. at 325. The absence of any alleged financial

incentive to commit fraud, as well as stock purchases during the alleged class period, can negate

an inference of scienter. See, e.g., Searls v. Glasser, 64 F.3d 1061, 1068 (7th Cir. 1995)



5
    Plaintiffs’ assertion that J.P. Morgan stated that Gogo’s “transition to 2Ku remains on course” (AC
    ¶ 127) is also not quite accurate. In full context, the statement reads as follows: “While the CA-NA
    transition to 2Ku remains on course, the segment will face headwinds in 2018 related to American
    Airlines de-installs (to Viastat) – which should lead to an estimated 360 aircraft reduction y/y (~400 de-
    installs and some expansion of existing fleet) – as well as lower ARPA due to mix shift (more regional
    jets on a % basis).” Polovoy Decl., Ex. Q at 1.



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(defendants’ acquisitions of company stock during alleged class period undermined inference of

scienter); In re Biogen Inc. Sec. Litig., 193 F. Supp. 3d 5, 50 (D. Mass. 2016) (same); Fire &

Police Pension Ass’n of Colo. v. Abiomed, Inc., 778 F.3d 228, 246 (1st Cir. 2015) (“[Defendant]

increased his holdings of Abiomed stock by 9.2% during the Class Period, which negates any

inference that he had a motive to artificially inflate Abiomed’s stock during that period.”)

(emphasis in original); DeVry, 2012 WL 1030474, at *12 (finding “dubious” plaintiffs’

contention that individual defendant’s stock purchases do not undercut inference of scienter with

respect to defendant who made no stock sales and only increased his stock holdings during the

alleged class period); IBEW Local 697 Pension Fund v. Ltd. Brands, Inc., 788 F. Supp. 2d 609,

631 (S.D. Ohio 2011) (defendants’ purchases during the class period “undermine any inference

of scienter”); Plumbers & Pipefitters Local Union 719 Pension Fund v. Zimmer Holdings, Inc.,

673 F. Supp. 2d 718, 749 (S.D. Ind. 2009) (stock repurchase program negates any inference of

scienter) (citing cases); In re Century Bus. Servs. Sec. Litig., 2002 WL 32254513, at *8 (N.D.

Ohio 2002) (defendant’s purchases during class period “inconsistent with a finding of . . .

scienter”).

       Here, plaintiffs have not alleged any stock sales or any other motive for any defendant to

commit fraud. Moreover, Small—the Company’s CEO at the time each of the allegedly

fraudulent statements was made—significantly increased his Gogo stock holding during the

putative Class Period, when he purchased 100,000 shares of Gogo common stock at $8.79 per

share on November 6, 2017, bringing his total Gogo stock holding to 398,224. See Polovoy

Decl., Ex. R (SEC Form 4, Nov. 8, 2017). In light of plaintiffs’ allegations that the problems

with 2Ku increased in November 2017 (AC ¶ 58), the timing of Small’s significant stock

acquisition undermines plaintiffs’ allegations that Small knew of significant undisclosed




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problems with 2Ku that were inconsistent with his public statements and were artificially

inflating Gogo’s stock price. Small’s stock purchases eviscerate any inference that defendants

acted with scienter: If Small thought for a moment that winter 2017-18 would bring significant

problems with 2Ku, he obviously would not have purchased Gogo stock a few weeks before

winter started, much less increase his holdings by more than 33 percent.

          In sum, the allegations of the Amended Complaint fail to support a strong inference of

scienter that is cogent and at least as compelling as the nonfraudulent inference.6

II.       PLAINTIFFS FAIL TO PLEAD CONTROL PERSON LIABILITY UNDER
          SECTION 20(a)

          To state a claim under Section 20(a), a plaintiff must first plead a primary violation of the

securities laws. Pugh, 521 F.3d at 693. Because plaintiffs have failed to do so, their Section

20(a) claim must be dismissed. Id. Furthermore, Smagley was no longer Gogo’s CFO for most

of the putative Class Period (AC ¶ 19), and accordingly cannot be held liable as a control person

under Section 20(a) for any statements made during the period when he was no longer Gogo’s

CFO (that is, any statements after May 4, 2017).




6
    Because the Amended Complaint does not plead scienter as against any of the Individual Defendants, it
    also fails to plead scienter against Gogo. See Zimmer, 673 F. Supp. 2d at 747 n.28 (in determining
    corporate scienter, a court must look to the scienter of individual corporate officers) (citing Southland
    Sec. Corp. v. INSpire Ins. Solutions, Inc., 365 F.3d 353, 366 (5th Cir. 2004)).



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                                       CONCLUSION

        For the foregoing reasons, the Court should dismiss the Amended Complaint with

prejudice.

Dated: February 8, 2019                            Respectfully submitted,

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